

People v Royal (2020 NY Slip Op 01675)





People v Royal


2020 NY Slip Op 01675


Decided on March 12, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 12, 2020

110459

[*1]The People of the State of New York, Respondent,
vEugene Royal, Appellant.

Calendar Date: February 7, 2020

Before: Egan Jr., J.P., Clark, Devine, Aarons and Colangelo, JJ.


G. Scott Walling, Slingerlands, for appellant, and appellant pro se.
J. Anthony Jordan, District Attorney, Fort Edward (Taylor Fitzsimmons of counsel), for respondent.



Appeal from a judgment of the County Court of Washington County (McKeighan, J.), rendered May 11, 2018, convicting defendant upon his plea of guilty of the crime of attempted promoting prison contraband in the first degree.
In satisfaction of a two-count indictment, defendant pleaded guilty to the reduced charge of attempted promoting prison contraband in the first degree. County Court sentenced him, as a second felony offender, to the agreed-upon term of 1½ to 3 years in prison, to run consecutively to the sentence that he was then serving. Defendant appeals.
Appellate counsel seeks to be relieved of his assignment of representing defendant on the basis that there are no nonfrivolous issues to be raised on appeal. Based upon our review of the record, counsel's brief and defendant's pro se submission, we agree. Consequently, the judgment is affirmed and counsel's request for leave to withdraw is granted (see People v Cruwys, 113 AD2d 979, 980 [1985], lv denied 67 NY2d 650 [1986]; see generally People v Beaty, 22 NY3d 490 [2014]; People v Stokes, 95 NY2d 633 [2001]).
Egan Jr., J.P., Clark, Devine, Aarons and Colangelo, JJ., concur.
ORDERED that the judgment is affirmed, and application to be relieved of assignment is granted.








